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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                  HAMMOND DIVISION

JOSEPH ELWELL, CRYSTAL                        )
ELWELL, DEBORAH BALDWIN,                      )
Individually and as custodian for her         )
Minor children WM and AM,                     )
ROBERT BALDWIN,                               )
                                              )      Case No. 2:16-cv-158
               Plaintiffs,                    )
                                              )
       v.                                     )
                                              )
FIRST BAPTIST CHURCH OF                       )
HAMMOND, INDIANA, INC.,                       )
                                              )
               Defendant.                     )

                                            ORDER

       This matter is before the court on the Agreed Motion to Take Depositions of Incarcerated

Persons [DE 50] filed by the parties on March 9, 2017. In light of the parties’ agreement, the

court GRANTS the motion. The parties are granted leave to depose Jack Schaap, Thomas

Kimmel, James W. Kirk, and Glen E. Smith pursuant to Rule 30(a)(2)(B).

       ENTERED this 10th day of March, 2017.

                                                            /s/ Andrew P. Rodovich
                                                            United States Magistrate Judge
